3:14-cr-30024-SEM-TSH # 102   Page 1 of 8                               E-FILED
                                            Thursday, 18 June, 2020 10:38:57 AM
                                                   Clerk, U.S. District Court, ILCD
3:14-cr-30024-SEM-TSH # 102   Page 2 of 8
3:14-cr-30024-SEM-TSH # 102   Page 3 of 8
3:14-cr-30024-SEM-TSH # 102   Page 4 of 8
3:14-cr-30024-SEM-TSH # 102   Page 5 of 8
3:14-cr-30024-SEM-TSH # 102   Page 6 of 8
3:14-cr-30024-SEM-TSH # 102   Page 7 of 8
3:14-cr-30024-SEM-TSH # 102   Page 8 of 8
